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 1   DAVID A. TORRES AND ASSOCIATES
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 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: Case No.12-CR-00213 AWI-BAM
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE; ORDER
12          vs.                                        )
                                                       )
13   CANDANCE GONZALES,                                )
                                                       )
14                   Defendant                         )
15   Defendant, CANDACE GONZALES, hereby waives her appearance in person in open court
16   upon the Status Conference hearing set for Monday, September 23, 2013 in Courtroom 8 of the
17   above entitled court. Defendant hereby requests the court to proceed in her absence and agrees
18   that her interest will be deemed represented at said hearing by the presence of her attorney,
19   DAVID A. TORRES. Defendant further agrees to be present in person in court at all future
20   hearing dates set by the court including the dates for jury trial.
21

22   Date: 9/20/13                                                  /s/Candace Gonzales_______
23
                                                                    CANDACE GONZALES

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 1                                     ORDER

 2        DENIED as untimely.

 3
     IT IS SO ORDERED.
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 5     Dated:   September 23, 2013              /s/ Barbara A. McAuliffe       _
                                           UNITED STATES MAGISTRATE JUDGE
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